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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

JOHN DOE )
)

Plaintiff, ) oO

) Case: 1:10-cv-00049 RMC
v. )
. )
FEDERAL BUREAU OF INVESTIGATION, )
and DEPARTMENT OF JUSTICE, )
)
Defendants. )
_)
MOTION TO DISMISS

Pursuant to Fed. R, Civ. P. 12(b)71) and (b)(6), defendants Federal Bureau of
Investigation and United States Department of Justice move to dismiss plaintiff complaint
pursuant to Fed. R. Civ. P. 12(b)(1) for lack of jurisdiction and Fed. R. Civ. P. 12(b)(6) for
failure to state a claim.

Respectfully submitted,

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UNITED STATES DISTRICT COURT —
FOR THE DISTRICT OF COLUMBIA

JOHN DOE
Plaintiff

Vv.

FEDERAL BUREAU OF INVESTIGATION,

and DEPARTMENT OF JUSTICE,

Defendants.

Case: 1:10-cv-00049 RMC

MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

JOHN DOE
Plaintiff,
Case: 1:10-cv-00049 RMC

Vv.

FEDERAL BUREAU OF INVESTIGATION,
and DEPARTMENT OF JUSTICE,

Defendants.

MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
INTRODUCTION

In this action, a former employee of the Federal Bureau of Investigation asks the Court to
second-guess the national security determinations made’by defendants in revoking his security
clearance. Specifically, he alleges that the revocation of his security clearance violated his Fifth
Amendment right to due process (Counts I and II), the Administrative Procedure Act (“APA”)
(Count II), his First Amendment right of association (Count Iv), and the Privacy Act (Count V).
Plaintiff asks the Court to require defendants to provide him with an opportunity to contest the
revocation and to rescind the revocation of his security clearance and reinstate his employment.

The claims raised by plaintiff present no legal basis for such relief. In Count I, he alleges
that the failure to accord him an opportunity for administrative review of the revocation decision
, violated the due process clause of the Fifth Amendment. This claim fails because he has not
been deprived of any protected property or liberty interest. As the Supreme Court recognized,
“no one has a ‘right’ to a security clearance.” Department of Navy v. Egan, 484 U.S. 518, 528

(1988). Moreover, while the Executive Branch in its discretion has established a procedural
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process which provides an opportunity for administrative review in most cases, Executive Order

No. 12968, 60 Fed. Reg. 40245 (1995), Section 5.2(d) of that Executive Order explicitly provides
that those procedures shall not be made available, where the head of the agency or the deputy —
certifies that providing the procedures “cannot be provided in a particular case without damaging
the national security interest by revealing classified information.” In this case, the Deputy
Attorney General personally certified that those procedures could not be made available to
plaintiff without damaging the national security interests of the United States by revealing
classified information. His claim in Count II that he has been deprived of a liberty interest in his
reputation and ability to pursue other employment opportunities also fails. He cannot establish a
deprivation of liberty interest under the “reputation-plus” test because he has not alleged that
defendants have made any public statements regarding the revocation of his security clearance.
Moreover, even if they had, the revocation of a security clearance does not impugn plaintiffs
moral character. He also cannot establish a deprivation of a liberty interest under the “stigma or
disability” test because the revocation of his security clearance has not broadly precluded him
from other employment opportunities.

In Counts III and IV, plaintiff seeks to challenge the merits of the decision to revoke his
security clearance by alleging that the decision violated the Administrative Procedure Act and his
First Amendment rights. Courts, however, do not have the authority to review the merits of a
decision to revoke a security clearance. Egan, 484 U.S at 527. As the Supreme Court has
recognized, the decision to grant or revoke a security clearance to a particular individual is a
sensitive and inherently discretionary judgment which is committed by law to the Executive

Branch.
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Plaintiffs claim in Count V that defendants violated Section 552a(e)(5) of the Privacy

‘Act is simply a backdoor attempt to challenge the revocation decision and thus fails for the same
reason. This Court cannot determine whether the revocation of plaintiffs security decision was
based on inaccurate records without assessing the merits of the denial itself, which is exactly
what is not permitted by Egan. In any event, plaintiff's claims must dismissed because plaintiff
has not stated a claim under the Privacy Act.

Accordingly, plaintiff's complaint should be dismissed under Fed. R. Civ. P. 12(b)(1) for
lack of jurisdiction and under Fed. R. Civ. P. 1 (b)(6) for failure to state a claim upon which
relief may be granted.

BACKGROUND

A. President's Authority to Limit Access to Classified Information

The President, as the “Commander in Chief of the Army and Navy of the United States,”
US. Const., Art. II, § 2, has “authority to classify and control access to information bearing on
national security and to determine whether an individual is sufficiently trustworthy to occupy a
position in the Executive Branch that will give that person access to such information.” Egan,
484 U.S. at 527. Pursuant to this power, U.S. presidents have issued Executive Orders ensuring
the proper classification of sensitive information and limiting the access to such information.

- E.g., Exec. Order No. 10290, 16 Fed. Reg. 9795 (1951); Exec. Order No. 10450, 18 Fed. Reg.

2489 (1953); Exec. Order No. 10816, 24 Fed. Reg. 3777 (1959).

Executive Order No. 12968, 60 Fed. Reg. 40245 (1995), establishes a uniform Federal
personnel security program for granting access to classified information. “Classified

information” is defined as “information that has been determined pursuant to Executive Order
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No. 12958, or any successor order, Executive Order No. 12951, or any successor order, or the

Atomic Energy Act of 1954 (42 U.S.C. § 201 1), to require protection against unauthorized
disclosure.” Id. § 1.1.

Under Executive Order No, 12968, a determination of eligibility for access to such
information “is a discretionary security decision.” Id. § 3.1(b). “Eligibility shall be granted only
where facts and circumstances indicate access to classified information is clearly consistent with
- the national security interests of the United States, and any doubts shall be resolved in favor of
national security.” Id. When an employee has been determined not to meet the eligibility
standard, the employee, with certain exceptions noted below, is provided: (1) a written
explanation of the basis for that conclusion “as the national security interests of the United States
and other applicable law permit:” (2) upon request, any documents, records, and reports upon
which a denial is based to the extent that such documents would be available under the Freedom
of Information or the Privacy Act; (3) notice of his right to be represented by counsel; (4) “a
reasonable opportunity to reply in writing to, and request a review of, the determination;” (5) a
written notice of and the reasons for the results of the review; (6) an opportunity to appeal in
writing to a high-level panel; and (7) an opportunity to appear personally and to present relevant
documents, material and information. Id. § 5.2(a).

Executive Order No. 12968, however, recognizes that these administrative review
procedures are not appropriate in all cases. It provides that:

[wJhen the head of an agency or principal deputy personally
certifies that a procedure set forth in this section cannot be made
available in a particular case without damaging the national

security interests of the United States by revealing classified °
information, the particular procedure shall not be made available.
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This certification shall be conclusive.

Id. § 5.2(d). The Executive Order further provides that:
This section shall not be deemed to limit or affect the responsibility
and power of an agency head pursuant to any law or other
Executive order to deny or terminate access to classified
information in the interests of national security. The power and
responsibility to deny or terminate access to classified information

~ pursuant to any law or other Executive order may be exercised only

where the agency head determines that the procedures prescribed in
subsection (a) of this section cannot be invoked in a manner that is
consistent with national security. This determination shall be
conclusive.

Id. § 5.2(e).

Executive Order No. 12968 also states that it “is intended only to improve the internal
management of the executive branch and is not intended to, and does not, create any right to
administrative or judicial review, or any other right or benefit or trust responsibility, substantive
or procedural, enforceable by a party against the United States, its agencies or instrumentalities,
its officers or employees, or any other person.” Id. § 7.1(e).

B. DOJ Regulations

Pursuant to Executive Order No. 12968 and other Executive Orders, the Department of
Justice issued regulations establishing procedures for determining eligibility for access to
classified information. 28 C.F.R. §§ 17.41-17.47. Like Executive Order No. 12968, the
regulations state that “[a] determination of eligibility for access to classified information is a
- discretionary security decision based on judgments by appropriately trained adjudicative

personnel,” 28 C.F.R. § 17.41(b). “Eligibility shall be granted only where facts and

circumstances indicate access to classified information is clearly consistent with the national
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security interests of the United States and any doubt shall be resolved in the favor of national

security.” Id, The regulations provide that employees shall generally be provided with a written
explanation of the basis for the decision “as the national security interests of the United States
and other applicable law permit” and an opportunity to seek review by the Access Review
Committee. 28 C.F.R. § 17.47(a).' The regulations, however, specifically provide that “qwihen
the Attorney General or Deputy Attorney General personally certifies that a procedure set forth in
this section cannot be made available in a particular case without damaging the national security
interests of the United States by revealing classified information, the particular procedure shall
not be made available.” 28 CFR. § 17.47(h). The regulations further state this decision “is a
discretionary and final decision not subject to further review.” Id.
PLAINTIFF’S FACTUAL ALLEGATIONS’

Plaintiff alleges that he was employed by the FBI in its Counterterrorism Divison in 2004,
Complaint, 2, 7. He alleges that “on October 28, 2005, two FBI agents, accompanied by the
Director of Human Resources for the FBI’s Counterterrorism Bureau, visited [him] at home” to
deliver two letters. Id. 12. The first letter, dated October 28, 2005 from Sharon Durkin, Chief,
Personnel Security Adjudication Section, stated that his Top Secret security was suspended upon
receipt of the letter. Id. 13. The letter explained that the suspension was “based on serious

security concerns regarding [his] conduct that have been raised.” Id. The letter also stated that

' The ARC consists of the Deputy Attorney General or a designee, the Assistant Attorney
General for National Security or a designee, and the Assistant Attorney General for
Administration or a designee. 28 C.F.R. § 17.15(b).

* While defendants do not concede any of plaintiff's allegations, they are assumed to be
true for purpose of this motion to dismiss.
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the “entire matter will be closely reviewed before a final determination is made.” Id. The second
letter, also dated October 28, 2005, from Diana M. De Canio, Chief, Performance, Recognition
and Awards Unit, Administrative Services, notified him that he was being placed on unpaid
administrative leave in accordance with 5 U.S.C. § 7513. Id. 414. The letter explained that he
was being placed on administrative leave because of the suspension of his Top Secret security
clearance. Id.

On January 12, 2006, plaintiff reported for a FBI-administered polygraph examination.
Complaint, 4 18. He alleges that “[t]he FBI polygrapher, Nina Collins, wanted to mirandize
him,” and that when he questioned the reason, she stated that “he was under investigation for
espionage.” Id He further alleges that he asked to speak to an attorney and was informed that
the polygraph would need to be rescheduled. Id.

Plaintiff alleges that on February 24 and March 1, 2006, he met with Tron Brekke, a FBI
official in the Security Division and another FBI official for approximately 15 hours. Id. J 19.
He alleges that he was told that “the interview was necessary because his security clearance was
being re-adjudicated.” Id. Plaintiff also asserts that Mr. Brekke told him that he “was suspected
of having an unspecified ‘foreign preference’ for another country.” Id.

On March 6, 2006, plaintiff underwent a polygraph examination. Id. 20. He alleges -
that as part of the examination, “he was asked whether he had ever improperly disclosed FBI
information, to which he answered truthfully ‘No.’” Id. He claims that he was never informed of
the results of the examination. Id.

By a letter dated May 8, 2008, Ronald J. Corvington, Assistant Director, Security

Division, notified plaintiff of the decision to revoke his Top Secret Security clearance, effectively
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immediately, based on plaintiffs “documented behavior, including your own admissions, that

casts serious doubt on your judgment, reliability, and trustworthiness.” Complaint, q 24, Mr.
Corvington further explained that “[p]ursuant to Executive Order (EO) 12968 and Title 28 Code
of Federal Regulations Part 17.47, the appeal procedures delineated therein are not available if
the Deputy Attorney General (DAG) or Attorney General (AG) personally certifies that damage
to the national security interests of the United States would result from those procedures by
revealing classified information.” Id. 05, He further stated that the Deputy Attorney General
personally made that certification in this case on March 31, 2008, and that “this revocation is -
final.” Id.

In June 2008, the FBI sent plaintiff a letter stating that he was being removed from the
FBI. Id. 26.

ARGUMENT

I. PLAINTIFF’S DUE PROCESS CLAIMS IN COUNTS I AND I! SHOULD BE
DISMISSED FOR FAILURE TO STATE A CLAIM.

_In his complaint, plaintiff asserts two Fifth Amendment due process claims. Complaint,
49 29-43. The first claim (Count I) challenges the procedures used to revoke his security
clearance. In that claim, he alleges that his “security clearance and its concomitant benefits
constituted’a liberty interest,” and that the defendants violated the due process clause “[bly
revoking [his] security clearance without providing notice of the charges against him and
adequate opportunity to refute such charges.” Complaint, 4 31-32. He further asserts that
Section 5.2(d) of Executive Order No. 12968 and 28 C.F.R. § 17.47, which provide that

defendants may revoke a security clearance without an opportunity to reply or seek:
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. administrative review, violates the Fifth Amendment. Complaint, § 34.

Plaintiff's second due process claim (Count 11) is based on his assertion that revoking the
security clearance impugned his reputation and will limit his employment opportunities.
Specifically, he alleges that defendants violated the due process clause because as a result of the
revocation, he “has been falsely branded as a national security threat, lost employment, lost
and/or will lose the opportunity to obtain other positions of employment in his field of expertise,
had his reputation in the community impugned which has resulted in foreclosing his freedom to
take advantage of a range of employment opportunities, and has been precluded from further
pursuing his chosen career.” Id. ¥ 41.

As explained below, these due process claims are baseless and should be dismissed under
Fed. R. Civ. P. 12(b)(6) for failure to state a claim.

A. Plaintiff Does Not Have A Protected Due Process Interest in A Security
Clearance.

In Count I, plaintiff alleges that defendants violated the due process clause by revoking
his security clearance without providing notice of the charges against him or an opportunity to
' appeal that decision. This claim is predicated upon the erroneous assumption that he has a
protected due process interest in a security clearance. As the Supreme Court recognized, “no one
has a ‘right’ to a security clearance” and the decision to grant a security clearance “an affirmative

_ act of discretion on the part of the granting official.” Department of Navy v. Egan, 484 U.S. 518,

528 (1988). Thus, “every court of appeals which has addressed the issue has ruled that a person
has no constitutionally protected liberty or property interest in a security clearance or a job

requiring a security clearance.” Stehney v. Perry, 101 F.3d 925, 936 (3d Cir. 1996). Accord

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Jones v. Dep't of Navy, 978 F.2d 1223, 1225-26 (Fed. Cir. 1992); Dorfmont v, Brown, 913 F.2d

1398, 1403-04 (9th Cir, 1990), cert. denied, 499 U.S. 905 (1991); Jamil v. Sec'y of Dep't. of

Defense, 910 F.2d 1203, 1209 (4th Cir.1990); Doe v. Cheney, 885 F.2d 898, 909-10 (D.C. Cir.

1989); Hill v. Dep't of Air Force, 844 F.2d 1407, 1411 (10th Cir.), cert. denied, 488 U.S. 825
(1988).

As the Courts have explained, “[t]he Executive Branch has constitutional responsibility to:
classify and contro] access to information bearing on national security.” Jones, 978 F.2d at 1225
(quoting Hill, 844 F.2d at 1411). Thus, “[a] security clearance is merely temporary permission
‘by the Executive for access to national secrets.” Id. “Tt flows from a discretionary exercise of
judgment by the Executive as to the suitability of the recipient for such access consistent with the
interests of national security.” Id, “The notion of an individual property right in access to the
nation’s secrets — by definition a limitation on Executive discretion — is utterly inconsistent with
those principles.” Id. Accordingly, because plaintiff has no protected interest in a security

clearance, defendants could not violate the due process clause by revoking his security clearance

. without providing notice of the charges against him or an opportunity to seek administrative

review. As the court emphasized in Dorfmont v. Brown, 913 F.2d at 1403, “[wJhere there is no

right, no process is due under the Constitution.”

This point was recognized by the court in El Ganayni v. Dep’t of Energy, 591 F.3d 176
(3d Cir. 2010). In that case, as here, plaintiff was not provided notice and an opportunity to seek
administrative review of the decision to revoke.his security clearance based on Section 5.2(d) and
(e) of Executive Order No. 12968. As here, plaintift alleged that the failure to provide an

opportunity to contest the revocation violated his right to procedural due process, The court

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found that this claim lacked any merit because no process was due. Id. at 187 n.6.

Plaintiffs due process challenge to Executive Order 12968 and the DOJ regulations fails
for the same reasons. The fact that the Executive Branch in its discretion has established a
procedural process which provides an opportunity for administrative review in most cases does
not mean that the government must provide the opportunity in all cases. Indeed, as explained
above, Executive Order No. 12968 and the regulation on their face explicitly provide that the
procedures shall not be available where, as here, the head of the agency or the deputy certify that
providing such procedures “cannot be made available in a particular case without damaging the
national security interests of the United States by revealing classified information.” Executive
Order, § 5.2(d); 28 C.F.R. § 17.47(h). Thus, neither the Executive Order nor the regulations
establish a right to any procedural protections in revoking a security clearance. Indeed, Section
7.2(e) of Executive Order No. 12968 specifically states that it “is intended only to improve the
internal management of the executive branch and is not intended to, and does not, create any
right to administrative or judicial review, or any other right or benefit or trust responsibility,
substantive or procedural, enforceable by a party against the United States, its agencies or
instrumentalities, its officers or employees, or any other person.”

Accordingly, Count I of plaintiff's complaint should be dismissed for failure to state a
claim.

B. Plaintiff Has Not Been Deprived Of A Protected Liberty Interest.

The focus of plaintiffs due process claim in Count II is slightly different. Rather than
directly alleging that he has a protected interest in the security clearance, he alleges that in

revoking his security clearance defendants deprived him of his liberty interest in his reputation

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and ability to pursue other employment opportunities. Complaint, § 41. To establish a

deprivation of a liberty interest on this basis, a plaintiff must first show that the government

negatively altered his employment status. Lyons v. Sullivan, 602 F.2d 7, 11 (1st Cir, 1979);

O'Donnell v. Barry, 148 F.3d 1126, 1140 (D.C. Cir. 1998); Mosrie v. Barry, 718 F.2d 1151, 1161

(D.C. Cir. 1983). A plaintiff must then show that in altering his employment status, the
defendant also

stigmatize[d] the employee or impugn[ed] his reputation so as to
either (1) seriously damage[d] his standing and associations in his
community (“reputation-plus”), or (2) foreclose[d] his freedom to
take advantage of other employment opportunities by either (a)
automatically excluding him from a definite range of employment
opportunities with the government or (b) broadly precluding him
from continuing his chosen career (“stigma or disability”).

M.K. v. Tenet, 196 F. Supp. 2d 8, 15 (D.D.C. 2001). Accord Bd. of Regents v. Roth, 408 U.S.

564, 573 (1972); Paul v. Davis, 424 U.S. 693, 710-711 (1976). Plaintiff cannot state a claim
under either the “reputation plus” prong or the “stigma or disability” prong.

1. Plaintiff Cannot Establish a Deprivation of a Liberty Interest under
the “Reputation-plus” Test. .

Plaintiff cannot meet the requirements to establish a deprivation of a liberty interest under
the “reputation-plus” test. To fit within the "reputation-plus" prong, a plaintiff must demonstrate
not only that the agency negatively altered his employment status, but also that the agency made
“public accusations that will damage [the plaintiff's] standing and associations in the

community,” in connection with the change in employment status. MK v. Tenet, 196 F. Supp. 2d

at 15 (quoting Doe v. Cheney, 885 F.2d 898, 910 (D.C. Cir. 1989) (emphasis added)).

Plaintiff cannot state a claim under the "reputation-plus" prong because (1) he cannot

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establish that defendants have made any public accusations, and (2) revocation of a security

clearance do not impugn plaintiffs moral character. First, to fit within the “reputation-plus”

prong, a plaintiff “must plead that the allegedly stigmatizing information was ‘published’ or

otherwise disseminated by the [defendant] to the public.” Chabal v. Reagan, 841 F.2d 1216, 1223

(3d Cir. 1988) (quoting Bishop v. Wood, 426 U.S. 341, 348 (1976)). Accord O'Donnell v. Barry,

148 F.3d 1126, 1140 (D.C. Cir. 1998) (claim dismissed because defendants had made no

defamatory statements about the plaintiff's discharge); Orange v. District of Columbia, 59 F.3d

- 1267, 1274 (D.C. Cir. 1995) (concluding firing without any associated public statement is not
actionable); M.K v. Tenet, 196 F. Supp. 2d at 15 (dismissing due process claim of former CIA
employee when there was no public accusations).

In this case, plaintiff has made no allegations that the defendants have made any public
accusations regarding the revocation of his security clearance. Instead, he only asserts that
“should [he] apply to work for a federal agency or a private civilian employer for a position that
requires even the most rudimentary background investigation, the FBI and/or DOJ will
disseminate information, to include known inaccurate and false information, it maintains in its
files about [him] that will adversely impact upon his reputation and harm or eliminate his
chances for employment.” Complaint, § 42.

This assertion is insufficient for two reasons. First, the assertion is purely speculative
because there is no allegation that he has applied for a job which requires any background
investigation, much less that the defendants have provided any information regarding the denial
of his security clearance. “But the threat of a defamatory publication, no matter how imminent it

may be, is not itself actionable as defamation.” Pinkney v. District of Columbia, 439 F. Supp.

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519, 528 (D.D.C, 1977). In that case, as here, plaintiff based his claim on the allegation that

information in his personnel file indicating the reason for his termination may be shown to
prospective employers if they requested it. The court dismissed the claim because there was no
allegation that any such dissemination had actually been made. Id. The decision in Johnson v.
Martin, 943 F.2d 15 (7th Cir. 1991), is to the same effect. In that case, a former employee of the
Chicago Police Department alleged that stigmatizing information in his personnel file will be
made available to future employers. The court dismissed the claim because there was no
allegation that such information had actually been made public. The court held while the
stigmatizing information in his file may be “a time bomb waiting to explode when sent to a
prospective employer, . . . [it] has yet to detonate.” Id. at 17. Accordingly, plaintiff's allegation
that defendants may provide information to prospective employers in the future is not sufficient:
Second, even if a prospective disclosure could be sufficient in some cases, plaintiff’ s
suggestion that defendants will disclose the reasons for the revocation to the public has no legal
’ basis and ignores the sensitive nature of the information regarding the reason for the revocation
of his security clearance. In fact, the information is so sensitive that the Deputy Attorney
General, pursuant to Section 5.2(d) of Executive Order 12968 and 28 C.F.R. § 17.47, certified
that the appeal procedures set forth in DOJ regulations and Section 5.2(a) of Executive Order
12968 could not be provided to plaintiff in this case without damaging national security interests
of the United States by revealing classified information.” See supra at 7-8. Indeed, plaintiff
alleges that the FBI has not even provided him with a detailed statement or explanation for the
reasons for the revocation. Complaint, § 33, Thus, because information regarding the basis for

the revocation is classified, that information could not be provided to the public. Instead, at

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most, it could only be provided to individuals who (1) have the requisite level of security

clearance, (2) have demonstrated a need-to-know the information, and (3) have signed an
approved nondisclosure agreement. Executive Order No. 12968, § 1.2(c); 28 C.F.R. § 17.41 (a).
They, in turn, would be barred by Executive Order No. 1295 8, § 5.5(b)(1), and their secrecy
agreement from revealing the classified information to anyone who did not meet those
requirements. Such limited disclosure, even if it had been made, cannot constitute a public
disclosure. As the Courts of Appeals has recognized, restricted disclosure of such material with

limits on further distribution, “is not stigmatizing and does not infringe upon constitutional

liberty interests.” Doe v. Cheney, 885 F.2d at 910.

Finally, even if defendants had made statements that his security clearance had been
denied or revoked, plaintiff could still not establish a liberty interest because such alleged
statements do not impugn the plaintiff's moral character or reputation. As the Supreme Court
explained,

[a] clearance does not equate with passing judgment upon an
individual's character. Instead, it is only an attempt to predict his
possible future behavior and to assess whether, under compulsion
of circumstances or for other reasons, he might compromise .

sensitive information.

Egan, 484 USS. at 528. Accord Jamil v. Secretary of Defense, 910 F.2d at 1209 (“because of the

inherently discretionary judgment required in the decisionmaking process, ‘no one has a “right”
to a security clearance,’ and revocation does not constitute an adjudication of one's character’);

Jones v. Dep't of Navy, 978 F.2d at 1226 (“loss [of security clearances] did not reflect upon their

characters”). Therefore, plaintiff cannot meet the “reputation-plus” criterion.

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2. Plaintiff Cannot Establish a Deprivation of Liberty Interest under the

Stigma or Disability Test.

Plaintiff also cannot make a claim under the "stigma or disability" prong. To meet that
test, plaintiff must demonstrate that the alteration in his status automatically precludes him from
a definite range of employment with the government or broadly precludes him from continuing
his chosen career. M.K., 196 F. Supp. 2d at 15. Here, plaintiff does not allege that the
revocation of the security clearance has precluded him from obtaining employment generally.
Indeed, he cannot. In fact, plaintiff does not allege that he remains unemployed. If he has been

able to obtain employment, it is fatal to his claim. Alexis v. District of Columbia, 44 F. Supp.

331, 342 (D.D.C. 1999) (granting summary judgment to the government with respect to plaintiffs
who have employment opportunities, abeit temporary ones).
Moreover, the fact that plaintiff was denied a security clearance by the FBI does not mean

that he is automatically precluded from positions with other federal agencies. Cf. Croddy v.

Federal Bureau of Investigation, No. 00-651, 2006 WL 2844261 (D.D.C. Sept. 29, 2006)
(individuals denied positions with the FBI and Secret Service because of failed polygraph
examinations obtained law enforcement positions with the Department of Homeland Security |
~and Drug Enforcement Administration).
Furthermore, even if the revocation of his security clearance may preclude him from
obtaining a job which requires a security clearance, he could not establish a deprivation of a
liberty interest because an individual has no right to employment in the national security arena or

to a security clearance. While the Supreme Court has stated that a liberty interest includes “the

> The Court is respectfully referred to the Declaration of Mark S. Zaid, {5 (attached to
plaintiff's Ex Parte Motion for Leave to File Complaint as “John Doe”).

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right .. . to engage in any of the common occupations of life,” Roth, 408 U.S. at 572, a job

requiring a security clearance is not such ajob. To the contrary, courts have specifically held that
an individual has neither a property or liberty interest in such a job. Egan, 484 US. at 528;

Stehney, 101 F.3d at 937; Dorfmont v. Brown, 913 F.2d at 1403-04; Doe v. Cheney, 885 F.2d at

909-10; Jones v. Department of Navy, 978 F.2d at 1226. In Dorfmont, 913 F.2d at 1403, the

_court rejected plaintiff's claim that the revocation of her security clearance deprived her of the
"ability to practice her chosen profession, since without it she could no longer obtain employment
‘with a defense contractor. The court found that “t]he ability to pursue such employment stands
on precisely the same footing as the security clearance itself. If there is no protected interest in a

- security clearance, there is no liberty interest in employment requiring such clearance.” Id.
Therefore, even if a plaintiff was precluded from obtaining employment in the area of national
security, he has not been deprived of a liberty interest.

In short, no matter how plaintiff tries to frame his alleged due process interest, he cannot
state such a claim. Plaintiff did not have any procedural due process rights. Accordingly,
plaintiff's due process claims in Counts I and II should be dismissed.

IL. PLAINTIFF'S CHALLENGES TO THE BASIS FOR THE REVOCATION OF

HIS SECURITY CLEARANCE IN COUNTS III AND ITV SHOULD BE

_ DISMISSED FOR LACK OF JURISDICTION AND FAILURE TO STATE A

CLAIM.

In Counts III and IV of his complaint, plaintiff seeks to challenge the national security
determinations made by defendants in revoking plaintiff's security clearance on the grounds that

the decision violates the APA and First Amendment. In Count III, plaintiff alleges that the

revocation of his security clearance “was based in large part on the false technical results of the

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polygraph examinations.” Complaint, 46. He asserts that this decision was “arbitrary and

capricious and/or an abuse of discretion” because defendants “conduct[ed] an improper
examination and unfairly rel[ied] on the results of the polygraph examination, fail[ed] to conduct
an comprehensive investigation, and took actions that were unwarranted by the facts,
unsupported by substantive evidence, in violation of internal regulations and statutes. . ., contrary
to constitutional right, power, privilege, or immunity, or in excess of federal statutory
jurisdiction, authority, or limitations, or short of statutory right.” Id. 950. In Count IV, on the
other hand, he alleges that the decision to revoke his security clearance was taken to “retaliate
against him based on the exercise of his First Amendment right of association.” Id. ] 56.
Plaintiff alleges that “defendants, through their officers and employees, have allowed their
personal, unfounded and ill-informed biases regarding the country of Israel and the loyalty of
J ewish Americans to improperly and illegally color their personnel decisions,” and that
“[dJjefendants have failed to offer any factual evidence indicating [plaintiffs] associations were .
illegal, suspect, dangerous, deceptive, improper, or even untoward.” Id.\ 55. In both Counts,
plaintiff asks the Court to second-guess the basis of the FBI’s decision to revoke his security
clearance. Indeed, in his prayer for relief, he specifically asks the Court to “require the FBI to
rescind the revocation and termination notices and reinstate his employment.” Prayer for Relief,
qq 3-4.
It is well established that the decision to revoke an individual's security clearance is not
subject to review. Egan, 484 U.S. at 529. In Egan, the Navy denied a security clearance to a
civilian employee. Since the civilian employee's job required a security clearance, he was

removed because the Navy had denied his security clearance. He sought review of his security

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clearance denial from the Merit Systems Protection Board. On appeal from the Board's decision,

the Supreme Court held that the Board did not have the authority to review the merits of the
decision to deny or revoke a security clearance. In its decision, the Supreme Court explained that
the authority to protect national security flows from the President's power under Article II of the
Constitution as Commander in Chief and as head of the Executive Branch. Id. at 527. As the
Supreme Court explained, "no one has a 'right' to a security clearance," and the decision to grant
a clearance "requires an affirmative act of discretion on the part of the granting official." Id, at
528. Accordingly, while there is a general presumption favoring judicial review, that
presumption "runs aground when it encounters concerns of national security, as in this case,
where the grant of a security clearance to a particular employee, a sensitive and inherently
discretionary judgment call, is committed by law to the appropriate agency of the Executive
Branch." Id. at 527. Because the evaluation of the risks to national security and the
determination of how best to protect classified information is "committed to the broad discretion
of the agency responsible," courts have refused to second-guess the decisions regarding denial of .
security clearances. Id. at 529, As the Supreme Court has emphasized,
it is not reasonably possible for an outside nonexpert body to
review the substance of such a judgment and to decide whether the
agency should have been able to make the necessary affirmative
prediction with confidence. Nor can such body determine what

constitutes an acceptable margin of error in assessing the potential
risk,

Since the Egan decision, the courts have consistently held that a decision reviewing the

merits of a decision denying or revoking a security clearance is not subject to judicial review. El

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Ganayni v. U.S. Dep’t of Energy, 591 F.3d at 182; Makky v. Chertoff 541 F.3d 205, 212 (3d

Cir.2008); Duane v. United States Dept. of Defense, 275 F.3d 988, 993 (10th Cir. 2002); Ryan

v.Reno, 168 F.3d 520, 523 (D.D.C. 1999); Stehney v. Perry, 101 F.3d at 932; Becerra v. Dalton,

94 F.3d 145, 148-49 (4th Cir. 1996), cert. denied, 519 U.S. 1151 (1997); Guillot v. Garett, 970

F.2d 1320, 1324 (4th Cir. 1992); Dorfmont v. Brown, 913 F.2d at 1401; Jamil v. Department of

Defense, 910 F.2d at 1206; Hill v. Dep’t of Air Force, 844 F.2d at 1411.’

Even though the merits of a revocation decision cannot be reviewed, some courts have
held that they have jurisdiction to hear “constitutional claims arising from the revocation
process” and claims regarding “whether an agency followed its own regulations and procedures
during the revocation process.” Stehney, 101 F.3d at 932, As explained below, plaintiffs claims
in Counts III and IV do not fall within either of those exceptions because plaintiff directly
challenges the revocation decision itself and seeks reinstatement of his security clearance. But,
even if this Court had jurisdiction over plaintiff's claims, the claim should be dismissed for

failure to state a claim upon which relief can be granted.

* While some courts have dismissed such claims under Fed. R. Civ. P. 12(b)(1) on the
grounds that the court lacks subject matter jurisdiction, e.g. Hill v. Dep’t of Air Force, 844 F.2d
at 1413, the District of Columbia Circuit held that dismissal of such claims under the APA
should be dismissed under Fed. R. Civ. P. 12(b)(6) for failure to state a claim since the APA
provides no cause of action because the agency action is “committed to agency discretion.”
Oryszak v. Sullivan, 576 F.3d 522, 526 (D. C. Cir. 2009). Regardless of which basis is relied
upon, the result is the same: challenges to the merits of a decision to revoke or deny a security
clearance are not reviewable.

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A. Plaintiff's APA Challenge to the Merits of the Revocation Should Be
Dismissed.

In Count II], plaintiff alleges the revocation decision violates the APA” Specifically, he

_ alleges that the decision was arbitrary and capricious because, inter alia, the FB] “unfairly rel[ied]
on the results of the polygraph examination, fail[ed] to conduct a comprehensive investigation,
and took actions that were unwarranted by the facts, [and] unsupported by substantial evidence.”
Complaint, q 50. Plaintiff also speculates that the FBI’s decision “was based in large part on the
false technical results of the polygraph” and that the FBI violated its internal regulations .
pertaining to its polygraph examinations. Id. 46. To resolve these claims would require the
Court to examine the actual reasons for the revocation and weigh the evidence, which is exactly

what Egan prohibits.

> Although plaintiff seeks reinstatement of his employment in his prayer for relief, he
does not directly challenge the FBI’s determination to terminate his employment. In other words,
he is not alleging that the FBI should have retained him as an employee even if he was ineligible
for a Top Secret security clearance. If plaintiff were to challenge his termination, that claim
would be barred by the Civil Service Reform Act (“CSRA”), which “comprehensively
overhauled the civil service system creating an elaborate new framework for evaluating adverse
personnel actions against [federal employees].” United States v. Fausto, 484 U.S. 439, 443
(1988) (internal citation and quotation marks omitted; alternation in original). It “proscribes in
great detail the protections and remedies applicable to such action, including the availability of
administrative and judicial review.” Id. The CSRA thus precludes all other statutory claims .
‘challenging federal personnel. actions, including APA claims. Croddy v. Federal Bureau of
Investigation, Civil Action No. 00-651(EGS), 2006 WL 2844261, at *5 (D.D.C. Sept. 29, 2006);
see also Filebark v. U.S. Dep’t of Transp., 542 F. Supp. 2d 1, 8 (D.D.C. 2008) (“absent a
provision for judicial review in the CSRA, challenges to agency personnel actions cannot be
pursued via other statutes, like the APA”), aff'd, 555 F.3d 1009 (D.C. Cir. 2009). In other
words, the CSRA “constitutes the remedial regime for federal employment and personnel
complaints.” Nyunt v. Chairman, Broadcasting Board of Governors, 589 F.3d 445, 448 (D.C.
Cir. 2009). Moreover, the CSRA “preempts judicial review under the more general APA even
when that scheme provides no judicial relief—that is, ‘what you get under the CSRA is what you
get.’” Filebark, 555 F.3d at 1010 (quoting Fornaro v. James, 416 F.3d 63, 67 (D.C. Cir. 2005)).

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Plaintiff cannot avoid dismissal of this claim by the insertion of an allegation that FBI

violated unspecified FBI regulations regarding polygraph examinations. Complaint, ]47. While
in some circumstances courts may “have the power to review whether an agency follow its own

regulations and procedures during the revocation process,” Stehney v. Perry, 101 F.3d at 932,

Count III fails to fit within this exception for at least two reasons.

First, this assertion is premised on the assumption that the FBI based its revocation
decision on the results of the polygraph examination. In order to make that determination, this
Court would need to determine the basis for the revocation; in other words whether plaintiff's
security clearance was revoked because of the results of the polygraph examination or due to
other factors separate and apart from the polygraph examination, as he alleges in paragraphs 54
to 57 of his complaint. For this Court to try to determine the factors in revoking his security
clearance would demand “some explanation of that decision from the [FBI].” El Ganayni, 591 -
F.3d at 184. That the Court cannot do, In El Gananyi, as here, the agency had revoked his
security clearance without providing him an explanation or an opportunity to appeal because
such procedures could not be made available without damaging national security interest by

revealing classified information. Plaintiff alleged the revocation violated the First Amendment
and equal protection. The Third Circuit found that plaintiff had failed to state a claim resolution
of those claims because resolution of those claims would “entail an examination of the basis” for
the revocation, which is precisely what Egan prohibits.” Id. at 184. The same is true here.
Determining whether the results of the polygraph were a determinative factor would “entail an
examination of the basis” for the revocation.

Second, even if plaintiffs allegation regarding the alleged violation of FBI regulations

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could avoid the jurisdictional hurdle of Egan, plaintiffs allegations in Count III are not sufficient

to survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6) for failure to state a claim. While

Fed. R. Civ. P. 8 does not require detailed factual allegations, it “demands more than an

unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 129 S.Ct. 1937, |
1949 (2009). In order to survive a claim under that rule, a complaint must proffer “enough facts

to state a claim to relief that is plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S.

544, 570 (2007). “A claim has facial plausibility when plaintiff pleads factual content that allows
the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Ashcroft v. Iqbal, 129 S.Ct. at 1949. “[B]are assertions” amounting to “nothing more

than a ‘formulaic recitation of the elements’ of a. . . claim” are “not entitled to be assumed to be
true.” Iqbal, 129 S.Ct. at 1950. Thus, Fed. R. Civ. P. 8 “does not unlock the doors of discovery .
for a plaintiff armed with nothing more than conclusions.” Id.

In this case, plaintiff must do more than simply allege that the FBI violated its own

regulations. To meet the standards set forth in Ashcroft and Twombly, it must specify the

regulations which he believes the FBI violated. Saha v. George Washington University, No. 09-

7022, 2009 WL 5125528, *1 (D.C. Cir. Dec. 23, 2009). In Saha, plaintiff alleged that the actions
taken by the university violated the Faculty Code, but failed to specify the provisions allegedly
violated. Citing to Iqbal, the court dismissed for failure to state a claim because plaintiff failed to
identify any provisions of the Faculty Code that the university violated. Id. Accordingly,
plaintiff cannot avoid dismissal simply by asserting that the FBI failed to follow some

unspecified polygraph regulations.

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B. Plaintiff’s First Amendment Challenge to the Revocation of the Security

Clearance Should Be Dismissed.
Plaintiff's claim that the FBI violated his First Amendment rights of association should
also be dismissed. Courts repeatedly have concluded that they lack jurisdiction to hear
constitutional claims seeking to second-guess the exercise of discretion in revoking a security

clearance of a particular individual. For example, in Hill v. Department of Air Force, 844 F.2d at

1411, plaintiff claimed that the suspension of his security clearance violated his constitutional
right to due process and equal protection. The district court issued a preliminary injunction
requiring the Air Force to reinstate his security clearance. The district court reasoned that it had
jurisdiction because plaintiff had raised constitutional claims. Id. The Tenth Circuit reversed,
finding that "the district court improperly based its jurisdiction upon constitutional grounds and,
in that connection, evaluated the motives and the merits of the agency's action." Id. at 1413. The
court stressed that if the restraints imposed by Egan "can be bypassed simply by invoking alleged

constitutional rights, it makes the authority of Egan hardly worth the effort."

The court in Peterson v. Department of Navy, 687 F. Supp. 713:(D.N.H. 1988), reached
the same conclusion. Plaintiff there alleged that denial of his security clearance was
discriminatory because it was based on his handicapping condition of drug and alcohol abuse.
The court found that Egan barred it from considering this claim. Id. at 715. As the court
explained, resolution of his discrimination claim "would require the Court to undertake a
substantive review of the validity of the agency's reasons for denying the clearance,” and such
review is."expressly forbidden by Egan." The court stressed that if the jurisdictional constraints

imposed by Egan could be "bypassed simply by alleging illegal discrimination, Egan would be

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vitiated." Id. Accord Williams v. Reilly, 743 F. Supp. 168, 171 (S.D.N.Y. 1990) (the "threshold

jurisdictional determination is not affected by the fact that the challenge is made on the grounds
of a constitutional deprivation").

The Third Circuit decision in Makky v. Chertoff, 541 F.3d at 212-213, also recognized

this limitation on review of challenges to a revocation of a security clearance. The Third Circuit
noted that an individual is "foreclosed under Egan from challenging the decision to deny the
security clearance, even if it were denied due to discrimination." Id. at 213. Thus, the court
found that while it had jurisdiction to review Makky’s mixed motive Title VII claim, it "cannot

question the motivation behind the decision to deny Makky’s security clearance." Id,’

° Courts have held that they lack jurisdiction to review such claims in the context,of
Title VIJ or other employment discrimination actions for the same reason. See, e.g., Bennett Vv.
Chertoff, 425 F.3d 999, 1002-03 (D.C. Cir. 2005) (Title VII); Hesse v. Dep't of State, 217 F.3d
1372, 1376 (Fed. Cir. 2000), cert. denied, 531 U.S. 1154 (2001) (Whistleblower Protection Act );
Perez v. FBI, 71 F.3d 513, 515 (5th Cir. 1995) (Title VID); Brazil v. U.S. Dep't of Navy, 66 F.3d
193, 197 (9th Cir. 1995) (Title VII); Lovelace v. Stone, 814 F. Supp. 558, 559 (E.D. Ky. 1992)
(Rehabilitation Act), As the court explained in Perez, 71 F.3d at 514, "[b]ecause the court would
have to examine the legitimacy and possibly pretextual nature of the [agency's] proffered reasons
for revoking the employee's security clearance, any Title VII challenge to the revocation would of
necessity require same judicial scrutiny of the merits of the revocation."

’ As noted in Stehney v. Perry, 101 F.3d at 932, some courts have held that they have
jurisdiction to hear “constitutional claims arising from the revocation process.” Such
constitutional claims have involved challenges to the underlying agency’s regulations or policies
relating to the clearance process, and not claims, such as this one, where plaintiff seeks to
second-guess a specific exercise of an agency’s discretion regarding the grant or denial of a

particular individual’s clearance. For example, in Stehney, plaintiff was denied a security
clearance because she refused to take a polygraph. Unlike plaintiff here, she did not ask for
review of the merits of the decision. Instead, her constitutional claim focused on the
constitutionality of the National Security Agency’s regulation exempting a small number of
internationally renowned mathematicians from the polygraph examination. 101 F.3d at 937.
Plaintiff claimed that this regulation violated equal protection because it had a discriminatory
effect on women. Id. Although the Third Circuit found that this claim had no merit, it held that
it had jurisdiction to review the claim because it did not require review the merits of the decision
to deny plaintiff a security clearance. Instead, the claim sought to challenge the constitutionality

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The constitutional claim raised by the plaintiff in Count IV clearly is not reviewable,

Like the claim in Count HI, Count IV directly seeks to challenge the merits of the decision itself.
Specifically, plaintiff challenges the revocation decision by speculating that defendants revoked
his security clearance based on what he describes as “innocuous and/or professional”
relationships with Israeli citizens or American Israeli Public Affairs Committee officials and
asserting that this basis violates his First Amendment right of association, Complaint, q{ 53-57.
Resolution of that claim would again require this Court to probe the reasons for the revocation
and to evaluate the merits of the "sensitive and: inherently discretionary judgment call" made in
revoking his security clearance. Egan, 484 US. at 527. As the courts have found, that is exactly
what is prohibited by Egan.

Even if this Court had jurisdiction to review plaintiff's First Amendment claim, this claim

should be dismissed for failure to state a claim for the same reason. The First Amendment

claims raised by plaintiff are similar to the claims raised by the plaintiff in E] Ganayni v. U.S.

Dep’t of Energy, 591 F.3d at 180-186. In that case, as here, the plaintiff s security clearance was
~ revoked without providing notice of the reasons and an opportunity for administrative review.
As here, plaintiff claimed that the agency, the Department of Energy (“DOE”), had revoked his
security clearance in retaliation for his First Amendment activities. Specifically, he alleged that

his security clearance was revoked because he had made speeches criticizing the FBI. Id. at 180.

of a procedural regulation. Accord National Federation of Federal Employees v. Greenberg, 983
F.2d 1993 (D.C. Cir. 1993) (challenge to a standard questionnaire used by the Department of
Defense in connection with the security clearance process); Hi-Tech Gays v. Defense Indus. Sec.
Clearance Office, 895 F.2d 563, 570-74 (9th Cir. 1990) (challenge to a Department of Defense’s
policy of conducting mandatory investigations of all homosexual applicants for Secret and Top
Secret clearance); Huynh v. Carlucci, 697 F. Supp. 61, 63 (D.D.C. 1988) (challenge to DOD’s
regulation denying security clearance to recently-naturalized citizens from certain countries).

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The Third Circuit upheld the district court’s dismissal of his claims on the grounds that he failed

to state acclaim. As the Third Circuit noted, to state a prima facie case of retaliation, plaintiff
“must show (1) ‘that his conduct was constitutionally protected’ and (2) that ‘his protected

activity was a substantial or motivating factor in the alleged retaliatory action.’” Id. at 184

(quoting Ambrose v. Twp. of Robinson, 303 F.3d 488, 493 (3d Cir. 2002). The court found that
defendant may then defeat a prima facie case by showing that it would have undertaken the same
actions in absence of the protected speech. Id. The court found that even if plaintiff could
establish the first element, “the second element was problematic” because

[p]roving that E] Ganayni’s political speech was “a substantial or
motivating factor” in the decision to revoke his clearance would
inevitably require review of the merits of the DOE’s decision.
There is simply no way to prove or disprove what was-or perhaps
more importantly for this case, what was not — a “substantial or
motivating factor” in the decision to revoke El-Ganayni’s clearance
without demanding some explanation of that decision from the
DOE. It would require discovery of DOE officials and documents
concerning the various “factors” that led to the decision to revoke
the clearance, and scrutiny of those factors to determine which
were “substantial” or “motivating.” We can discern no difference ©
between that inquiry and the review of the merits that is forbidden
by Egan. .

The Court further found that even if plaintiff could establish a prima facie case,
defendant’s right to defend itself against that claim would raise problems under Egan, The Third
Cireuit explained “[w]eighing the strength of the government’s arguments against E] Ganayni’s
claims of pretext would amount to a judgment on the merits of the decision to revoke El
Ganayni’s clearance.” Id, at 185. Based upon these findings, the Third Circuit concluded that

the First Amendment claim was properly dismissed because “the Secretary of Energy, who serves -

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as the trustee of the presidential power over information critical to national security, simply

cannot be ordered to justify his decisions in this area, nor can his justification be subjected to
weighing and second-guessing by a ‘non-expert outside body’ such as a factfinder in a federal
court.” Id. (quoting Egan, 484 U.S. at 529). The court found that El-Ganayni’s equal protection
claim failed for the same reason. As the court explained, determining whether the decision was
based on his religion or national origin “would inevitably require review of the merits of DOE’s
decision.” Id. at 186. The court found that the DOE cannot be held to a “burden” of justifying
the decision to revoke E] Ganayni’s clearance “‘because the DOE has no duty to justify the
decision, period.” Id.

The same problem is presented by plaintiff's claim in Count IV. In that count, plaintiff
alleges that the FBI’s decision to revoke his security clearance was based upon “personal,
unfounded, and ill-informed biases regarding the country of Israel and the loyalty of Jewish
Americans.” Complaint, § 55, Based on this alleged bias, plaintiff speculates that the
revocation is based upon “false accusations that [he] committed espionage on behalf of or for the

benefit of Israel simply because he had contacts with Israel citizens or AIPAC officials.” As in

.El Ganayani, resolution of those claims would “entail an examination of the basis” of the

revocation decision, which “is precisely what Egan prohibits.” El Ganayni 591 F.3d at 184.
Accordingly, Count IV should be dismissed under Egan because this Court lacks

jurisdiction to review the revocation of plaintiff's security clearance and, even if this Court has

jurisdiction, plaintiff fails to state a claim.

Il. PLAINTIFF'S CLAIMS UNDER THE PRIVACY ACT SHOULD BE DISMISSED.

Plaintiffs Privacy Act claim seeks monetary damages for claimed injuries arising from

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the defendants’ alleged violation of 5 U.S.C. § 552a(e)(5) by failing to maintain files “with such

accuracy, relevance, timeliness, and completeness” as required “to assure fairness in any
determination relating to the qualifications, character, rights, or opportunities of, or benefits to”
plaintiff. Complaint. § 61. In particular, plaintiff alleges that defendants “failed to afford [him]
an adequate opportunity to correct the record and/or ignored his attempts to do so.” Id. 462. As
a result, plaintiff alleges that he “lost his employment and the opportunity to obtain other
positions of employment, had his reputation in the community impugned, which has resulted in
foreclosing his freedom to take advantage of a range of employment opportunities, and has

precluded him from pursuing his chosen career within the Intelligence, Law Enforcement or
foreign policy communities.” Id. | 65. As explained below, plaintiff's Privacy Act should be
dismissed .

A. Plaintiff's Privacy Act Challenges Must Be Dismissed On Separation Of
Powers Grounds.

As explained supra at 18-20, it is well-settled that courts and other “nonexpert” bodies
outside the Executive Branch have neither the authority under the Constitution to review the

substance of an agency’s security clearance decision. See, e.g., Egan, 484 U.S. 5 18; Ryan v.

Reno, 168 F.3d at 523. That decision is a “sensitive and inherently discretionary judgment call”
and “is committed by law to the appropriate agency of the Executive Branch.” Egan, 484 U.S. at
527,

This jurisdictional bar precludes plaintiff from making statutory claims which would
require a court to review the merits of an agency’s security clearance determination. In Ryan, for

example, the D.C. Circuit held that “employment actions based on [the] denial or revocation of a

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security clearance is not actionable under Title VII” because the district court “could not proceed

with the appellants’ discrimination action without reviewing the merits of DOJ’s decision not to

grant a clearance.” 168 F.3d at 524. See also, e.g., Weber v. United States, 209 F.3d 756, 759

(D.C. Cir. 2000) (an adverse decision on an issue of security clearance is not subject to review

under the whistleblower protection provisions of the Civil Service Reform Act); United States

Info. Agency v. Kre, 905 F.2d 389, 395-97 (D.C. Cir. 1990) (Foreign Service Act did not give the
Foreign Service Grievance Board jurisdiction to review a decision of a security program manager

to withdraw plaintiff from overseas postings; nor did the court have jurisdiction under the APA

to review the decision); Beattie v. Boeing Co., 43 F.3d 559, 566 (10th Cir. 1994) (merits of

security clearance decisions not subject to judicial review, thus precluding Bivens constitutional

tort claim); Guillot v. Garrett, 970 F.2d 1320, 1326 (4th Cir. 1992) (individual security

classification determinations not subject to judicial review for alleged violations of
Rehabilitation Act of 1973).
' This Court has recognized this bar with respect to Privacy Act claims involving

challenges to an agency’s decision to revoke a security clearance. Sullivan v. Central

Intelligence Agency, No. 07-0685 (D.D.C. March 6, 2009) (Attachment A). In that case,

plaintiff alleged that the CIA had violated the Privacy Act by disseminating information
regarding his revocation of his security clearance. Judge Robertson dismissed the claim on the
grounds that “it is really a demand that the Court review the merits of the security decision —a
review which is prohibited on separation of powers grounds.” Id. at 7.

Plaintiff’ s Privacy Act claim is clearly barred for the same reason. As noted, plaintiff's

claimed Privacy Act injuries allegedly arise from the revocation of his security clearance. To

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recover money damages on his Privacy Act accuracy claim, therefore, plaintiff would have to
show, inter alia, that the revocation of his security clearance was caused by inaccuracies in the

FBI's records pertaining to him. See, e.g., Hubbard v. U.S. E.P.A. Adm'r, 809 F.2d 1, 4-5 (D.C.

Cir. 1986); Reuber v. United States, 829 F.2d 133, 140-41 (D.C. Cir. 1987). Obviously, the
Court cannot decide whether the revocation of his security clearance was based on inaccurate
records without assessing the merits of the denial itself. In short, plaintiff's challenge to the
factual “accuracy” of records in plaintiff's file is simply a back-door challenge to the revocation
decision itself. Accordingly, this Court lacks jurisdiction over plaintiff's Privacy Act claim’

B. Plaintiff Has Failed To State A Privacy Act Claim.

In any event, even if the Court has jurisdiction over plaintiff's Privacy Act claim, that
claim would have to be dismissed because plaintiff has failed to allege any actionable conduct

under the Privacy Act? “It is well-established that, ‘generally speaking, the Privacy Act allows

’ Even setting aside the separation of powers concerns raised by plaintiff's Privacy Act
claims, that claim — like plaintiff's APA claim — would also be precluded by the CSRA as it, at
bottom, seeks to challenge the government’s judgment in revoking plaintiffs security clearance
and termination of his employment. See, e.g., Kleiman v. Dep’t of Energy, 956 F.2d 335, 338
(D.C. Cir. 1992) (“This court has refused to allow ‘the exhaustive remedial scheme of the CSRA’
to be ‘impermissibly frustrated,’ by granting litigants, under the aegis of the Privacy Act or
otherwise, district court review of personnel decisions judicially unreviewable under the
CSRA.”) (citation omitted); Hubbard v. U.S. EPA Adm’r, 809 F.2d at 5. (“Since Congress
specifically chose to oust the district courts of jurisdiction to review government personnel
practices, it would be anomalous to construe the pre-existing Privacy Act to grant the district
court power to do indirectly that which Congress precluded directly.”).

* Plaintiffs allegations also fall short of the pleading requirements set forth in Iqbal, 129
S.Ct. at 1949, and Bell Atlantic, 550 U.S. at 570. In his case, plaintiff's allegations are nothing
more than a “formulaic recitation of the elements” of a Privacy Act claim. Complaint, {] 60-68.
He does not specify what alleged inaccurate information is contained in the FBI’s System of
Records. Nor does he state the basis for his conclusory allegations that the FBI’s actions were
wilful and intentional. Plaintiff should not be permitted to use the Privacy Act as a fishing
expedition to discover what information is contained in the FBI’s files. This is especially true

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for correction of facts but not correction of opinions or judgments.” Mueller v. Winter, 485 F.3d

1191, 1197 (D.C. Cir. 2007) (citation omitted). In particular, the Act is intended to remedy
“factual or historical errors,” and is not a vehicle for addressing “the judgments of federal

officials .. . reflected in records maintained by federal agencies.” Kleiman, 956 F.2d at 337-38

(emphasis in original) (citation and internal formatting omitted)). See also Bernard v. Dep’t of
Defense, 362 F. Supp. 2d 272, 281 (D.D.C. 2005) (“dismissing Privacy Act challenges to
“procedures used to revoke the plaintiffs security clearance” to the extent plaintiff “was seeking
to invalidate the decision”). Accordingly, “a complaint [that] is not about the accuracy of , , .

records, but about the underlying decision they reflect” is not cognizable under the Privacy Act.

Levant v. Roche, 384 F. Supp. 2d 262, 270 (D.D.C. 2005) (dismissing Privacy Act claims
pursuant to Fed. R. Civ. P. 12(b)(6)).

Here, plaintiffs Privacy Act claim is, in fact, a challenge to the revocation of plaintiff’ s
security clearance, and not to the historical accuracy of any records underlying that decision. The
heart of this case is the fact that defendants have not—and indeed cannot—share with plaintiff
the specific information about the reasons for the revocation of plaintiffs security clearance. See
Complaint, J 33 (“The FBI failed to provide John Doe with a statement of reasons or other

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explanation for its actions simply citing ‘national security interest’”). Plaintiff simply does not
know the reasons for the revocation of his security clearance, and therefore has no basis to allege

the records underpinning the revocation are “inaccurate.” And in alleging that his records are in

inaccurate, plaintiff is once again attempting to ascertain the basis for the revocation of his

here, where defendants cannot share with plaintiff the factual basis for the revocation of his
security clearance.

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security clearance.”

Accordingly, plaintiff's Privacy Act claim should be dismissed.

CONCLUSION

For the above stated reasons, this Court should grant defendants’ motion to dismiss.

Respectfully submitted,

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